Dear Secretary Carnahan:
This opinion letter responds to your request dated January 9, 2009, for our review under Section 116.334, RSMo, of a proposed summary statement prepared for the petition (version 3a) submitted by Ron Calzone on December 16, 2008, relating to amending Article I of the Missouri Constitution. The proposed summary statement is as follows:
Shall the Missouri Constitution be amended to restrict the use of eminent domain by:
  • Allowing only government entities to use eminent domain;
  • Prohibiting its use for private purposes, with certain exceptions for utilities;
  • Requiring that any taking of property be necessary for a public use and that landowners receive just compensation;
  • Requiring that the intended public use be declared at the time of the taking; and
  • Permitting the original owners to repurchase the property if it is not so used within five years or if the property is offered to a private entity within 20 years? *Page 2 
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
Very truly yours,
______________
Chris Koster
Attorney General *Page 1 